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     12       Interviews with Eugene Colan
     13       Comicology Colan Interview
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                                                                        Page 2

      1                  JEFF PETERS:       We're here at the New
      2      York Comicon with Master Comic Artist Gene Colan,
      3      whose career spans what, four decades?
      4                  GENE COLAN:      From '46.
      5                  JEFF PETERS:       From 1946 in the comics,
      6      so six decades, excuse me.            Gene is -- you're
      7      traveling incognito?        You've got the --
      8                  GENE COLAN:      My wife's with me.
      9                  JEFF PETERS:       The black on.           You've got
     10      your shades on.
     11                  GENE COLAN:      Yep.
     12                  JEFF PETERS:       And it's because you have
     13      glaucoma?
     14                  GENE COLAN:      Yep.
     15                  JEFF PETERS:       Which we were just
     16      talking about.
     17                  GENE COLAN:      Yes.       Well, if your
     18      pressure goes up, you don't feel it, you don't
     19      know it.
     20                  JEFF PETERS:       Right.
     21                  GENE COLAN:       You find out if you have
     22      an eye doctor look at i t and he'll tell you right
     23      off the bat --
     24                  JEFF PETERS:       Yeah, they do the test
     25      real quick and know that it's happening.

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                                                                             Page 15

      1                       GENE COLAN:       Yeah.
      2                       JEFF PETERS:        All right.        And now this
      3      has just come out .           This is from Tomorrow's
      4      Publisher
      5                       GENE COLAN:       Yes.
      6                       JEFF PETERS :       -- and this is Secrets in
      7      the Shadows        --
      8                       GENE COLAN:       That's right, tells all
      9      about       --
     10                       JEFF PETERS:        -- the life of Gene
     11      Colan.
     12                       GENE COLAN:       Yeah.
     13                       JEFF PETERS:        And people can pick this
     14      up at       --
     15                       GENE COLAN:       Yeah.
     16                       JEFF PETERS:        -- any comic bookstore?
     17                       GENE COLAN:        I would think so, yes.
     18                       JEFF PETERS:        That's great.           And this
     19 I    tells your entire history?
     20                       GENE COLAN :      Everything.
     21                       JEFF PETERS:        It's really a terrific
     22      book .
     23                       GENE COLAN:        Yes.
     24                       JEFF PETERS:        And what do you see           -- do
     25      you have any plans for doing sequential art

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      1                        C E R T I     F I C A T I O N
      2
      3      I, Rita Weltsch, certify that the foregoing
      4      transcript is a true and accurate record of the
      5      proceedings. ·
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     16      Date:       October 24, 2022
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